902 F.2d 1568
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.David Edward DANEAULT, Plaintiff-Appellant,v.Steven SMITH, Warden, Luther Luckett Correctional Complex,Commonwealth of Kentucky, Department of AdultCorrectional Institutions, Defendants-Appellees.
    No. 89-6599.
    United States Court of Appeals, Sixth Circuit.
    May 18, 1990.
    
      1
      Before BOYCE F. MARTIN, Jr. and RALPH B. GUY, Jr., Circuit Judges, and DAVID D. DOWD, District Judge*.
    
    ORDER
    
      2
      This matter is before the court upon consideration of this court's order directing the appellant to show cause why the case should not be dismissed for lack of jurisdiction.  Appellant has failed to respond.
    
    
      3
      It appears from the record that the final judgment was entered October 12, 1989.  On December 15, 1989, appellant filed a notice of appeal.  The notice of appeal was thirty-two days late.  Fed.R.App.P. 4(a) and 26(a).
    
    
      4
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Fed.R.App.P. 4(a) is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.   Baker v. Raulie, 879 F.2d 1396, 1398 (6th Cir.1989) (per curiam);  McMillan v. Barksdale, 823 F.2d 981, 982 (6th Cir.1987);  Myers v. Ace Hardware, Inc., 777 F.2d 1099, 1102 (6th Cir.1985);  Denley v. Shearson/American Express, Inc., 733 F.2d 39, 41 (6th Cir.1984) (per curiam);  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016, 1018 (6th Cir.1983).  Fed.R.App.P. 26(b) specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      5
      It is ORDERED that the appeal be, and it hereby is, dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    
      
        *
         The Honorable David D. Dowd, Jr., U.S. District Judge for the Northern District of Ohio, sitting by designation
      
    
    